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         Case 1:24-cr-00003-SM-AJ           Document 157       Filed 02/04/25     Page 1 of 14


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                                UNITED STATES DISTRICT COURT                                  N -● r~
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                                 DISTRICT OF NEW HAMPSfflRE                                   Xp I
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    UNITED STATES OF AMERICA                          )                                      N«4C!
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                                                      )                                      r
                   V.                                 )                No. 24-cr-03-SM
                                                      )
    ALTON RYAN                                        )



                                          PLEA AGREEMENT

           Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the United

    States of America by its attorney, Jane E. Young, United States Attorney for the District of New

    Hampshire, and the defendant, Alton Ryan, and the defendant’s attorney, David Rothstein,

    Esquire, enter into the following Plea Agreement:

            1. The Plea and the Offense.

           The defendant agrees to plead guilty to Count 2 of the Indictment that charges him with

    Conspiracy to Distribute Controlled Substances, specifically, fentanyl and methamphetamine.

    Schedule II controlled substances, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

           In exchange for the defendant’s guilty plea, the United States agrees to the sentencing

    stipulations identified in Section 6 of this agreement.

           2. The Statute and Elements of the Offense.

           Title 21, United States Code, Section 846 provides, “Any person who attempts or

    conspires to commit any offense defined in this subchapter shall be subject to the same penalties

    as those prescribed for the offense, the commission of which was the object of the attempt or

    conspiracy.

           The defendant understands that conspiracy has the following elements, each of which the


                                                    - 1 -
     Case 1:24-cr-00003-SM-AJ            Document 157         Filed 02/04/25      Page 2 of 14




United States would be required to prove beyond a reasonable doubt at trial:

First, that the agreement specified in the Indictment, and not some other agreement or
agreements, existed between at least two people to distribute or possess with intent to distribute
controlled substances; and

Second, that the defendant willfully joined the agreement.

Pattern Criminal Jury Instructions for the District Courts of the First Circuit. District of Maine
Internet Site Edition. 2024 Revisions, Instruction 4.18.371(1),
https://www.med.uscourts.gOv/site.s/med/file.s/crpiiLinks.pdf.

   Title 21, United States Code Section 841(a)(1) provides, in pertinent part:

   (a) Unlawful acts

Except as authorized by this subchapter, it shall be unlawful for any person knowingly or
intentionally—

   (1) to manufacture, distribute, or dispense, or possess with intent to manufacture, distribute,
       or dispense, a controlled substance.

       The defendant understands that the offense of distribution of a controlled substance has


the following elements:

First, the defendant transferred a controlled substance to another person;

Second, the defendant knew that the substance was a controlled substance; and

Third, the defendant acted intentionally, that is, that it was his conscious object to transfer the
controlled substance to another person.

Pattern Criminal Jury Instructions for the District Courts of the First Circuit. District of Maine
Internet Site Edition, 2024 Revisions, Instruction 4.21.841(a)(l)B,
https://www.ined.Liscourts.gov/sites/med/files/crDiiLinks.pdf.

       3. Offense Conduct.

       The defendant stipulates and agrees that if this case proceeded to trial, the government

would introduce evidence of the following facts, which would prove the elements of the offense

beyond a reasonable doubt:

                                                -2-
     Case 1:24-cr-00003-SM-AJ           Document 157        Filed 02/04/25      Page 3 of 14




       In the fall of 2022, the Federal Bureau of Investigation (“FBI”) New Hampshire Major

Offender Task Force(“NH MOTF”)and the New Hampshire State Police(“NHSP”) began

investigating the defendant and his co-conspirators for distribution of controlled substances in

New Hampshire. The investigation involved surveillance of and controlled purchases from an

autobody shop in Concord, New Hampshire (“the autobody shop”), where the defendant and his

co-conspirators agreed and worked together to distribute methamphetamine and fentanyl.

       On December 13, 2022, at the direction of law enforcement, a confidential source (“CS”)

arranged the purchase of heroin/fentanyl from the defendant at the autobody shop. Law

enforcement provided the CS with official advanced funds and audio/video recording equipment

and searched the CS prior to and after the transaction for weapons, contraband, and unexplained

currency with negative results.* The CS entered the autobody shop and met with co-conspirator

Serene Hull, before meeting with the defendant. The CS exchanged official advanced funds

(“OAF”)for 49.88 grams of fentanyl, as confirmed by the Drug Enforcement Administration

(“DEA”)laboratory.

       On December 20, 2022, at the direction of law enforcement, the CS arranged the

purchase of methamphetamine and fentanyl from the defendant. The CS met the defendant in a

parking lot in Concord, New Hampshire and purchased 62.2 grams of fentanyl and 70.2 grams of

methamphetamine, as confirmed by the DEA laboratory.

       On January 5, 2023, at the direction of law enforcement, the CS arranged the purchase of

fentanyl from the defendant. Law enforcement surveillance observed the defendant leave the

autobody shop to meet the CS at a multi-family unit in Concord, New Hampshire. The defendant



  Investigators followed this procedure prior to and after each controlled purchase.

                                               -3-
     Case 1:24-cr-00003-SM-AJ              Document 157        Filed 02/04/25     Page 4 of 14




brought the CS into the unit, where the CS purchased 43.1 grams of fentanyl, as confirmed by

the DEA laboratory, for the OAF.

        On March 2, 2023, the New Hampton, New Hampshire Police Department attempted to

stop the defendant’s car for a motor vehicle infraction. The defendant led the police on a high-

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defendant’s car began smoking and ultimately pulled over. The defendant was arrested and

officers obtained a search warrant, locating approximately 246 grams of cocaine, as confirmed

by the New Hampshire State Police Forensic Laboratoiy', and a Walther PPS pistol, a battle ax, a

machete, and a knife.

        Following the motor vehicle stop, the defendant waived his Miranda rights and spoke to

investigators. The defendant stated that he threw a bag of cocaine out the window during the

pursuit. He said that he knew he could not possess firearms, but inside the car there was a gun

and drugs. Specifically, the defendant stated that there was a pistol under the seat and cocaine

in a duffle bag. The defendant admitted to purchasing methamphetamine through the mail and

distributing it.

        The facts would be established through witness testimony, photographs, audio/video

recordings, and laboratory results.

        4. Penalties^ Special Assessment and Restitution.

        The defendant understands that the penalties for the offense are:

        A.         A maximum prison term of 20 years (21 U.S.C. § 841(b)(1)(C));

        B.         A maximum fine of$1,000,000 (21 U.S.C. § 841(b)( 1)(C));

        C.         A term of supervised release of at least 3 years and as much as life (21
                   U.S.C. § 841(b)(1)(C)). The defendant understands that the defendant’s

                                                  -4-
     Case 1:24-cr-00003-SM-AJ           Document 157         Filed 02/04/25      Page 5 of 14




                failure to comply with any of the conditions of supervised release may
                result in revocation of supervised release, requiring the defendant to serve
                in prison all or part of the term of supervised release, with no credit for
                time already spent on supervised release; and

       D.       A mandatory special assessment of $100,$100 for each count of conviction, at or
                before the time of sentencing (18 U.S.C. § 3013(a)(2)(A)).

       5. Sentencing and Application of the Sentencing Guidelines.

       The defendant understands that the Sentencing Reform Act of 1984 applies in this case

and that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. Except for the Rule 11(c)(1)(C) sentencing stipulations provided for in Section 6 of

this Agreement, the defendant understands that he has no right to withdraw from this Plea

Agreement if the applicable advisory guideline range or his sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall:

       A.       Advise the Court of any additional, relevant facts that are presently known
                or may subsequently come to their attention;

       B.       Respond to questions from the Court;

       C.       Correct any inaccuracies in the pre-sentence report;

       D.       Respond to any statements made by him or his counsel to a probation
                officer or to the Court.

       The defendant understands that the United States and the Probation Office may address


the Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges that any estimate of the probable sentence or the probable

sentencing range under the advisory Sentencing Guidelines that he may have received from any

source is only a prediction and not a promise as to the actual sentencing range under the advisory



                                                -5-
     Case 1:24-cr-00003-SM-AJ          Document 157         Filed 02/04/25      Page 6 of 14




Sentencing Guidelines that the Court will adopt.

       6. Sentencing Stipulations and Agreements.

       Pursuant to Fed. R. Crim. 11(c)(1)(C), the United States and the defendant stipulate and

agree that a sentencing range of 84 to 151 months’ imprisonment is an appropriate disposition of

this case.


       The parties intend the above stipulations to be “binding” under Fed. R. Crim. P.

11(c)(1)(C). By using the word binding the parties mean that if the Court will not accept the plea

agreement under Fed. R. Crim. P. 11(c)(3)(A), the plea agreement is null and void and the

defendant will be allowed the opportunity to withdraw his guilty plea.

       The parties are free to make recommendations with respect to the terms of imprisonment.

fines, conditions of probation or supervised release, and any other penalties, requirements, and

conditions of sentencing as each party may deem lawful and appropriate, unless such

recommendations are inconsistent with the terms of this Plea Agreement.


        7. Acceptance of Responsibility.

        The United States agrees that it will not oppose an appropriate reduction in the

defendant's adjusted offense level, under the advisory Sentencing Guidelines, based upon the

defendant’s apparent prompt recognition and affirmative acceptance of personal responsibility

for the offense. The United States, however, may oppose any adjustment for acceptance of

responsibility if the defendant:

        A.     Fails to admit a complete factual basis for the plea at the time he is
               sentenced or at any other time;

        B.     Challenges the United States’ offer of proof at any time after the plea is
               entered;



                                               -6-
     Case 1:24-cr-00003-SM-AJ            Document 157         Filed 02/04/25     Page 7 of 14



       c.      Denies involvement in the offense;

       D.      Gives conflicting statements about that involvement or is untruthful with
               the Court, the United States or the Probation Office;

       E.      Fails to give complete and accurate information about his financial status
               to the Probation Office;

       F.      Obstructs or attempts to obstruct justice, prior to sentencing;

       G.      Has engaged in conduct prior to signing this Plea Agreement which
               reasonably could be viewed as obstruction or an attempt to obstruct
               justice, and has failed to fully disclose such conduct to the United States
               prior to signing this Plea Agreement;

       H.      Fails to appear in court as required;

       I.      After signing this Plea Agreement, engages in additional criminal conduct;
               or

       J.      Attempts to withdraw his guilty plea.

       The defendant understands and agrees that he may not withdraw his guilty plea if, for any

of the reasons listed above, the United States does not recommend that he receive a reduction in

his sentence for acceptance of responsibility.

       The defendant also understands and agrees that the Court is not required to reduce the

offense level if it finds that he has not accepted responsibility.

       If the defendant’s offense level is sixteen or greater, and he has assisted the United States

in the investigation or prosecution of his own misconduct by timely notifying the United States

of his intention to enter a plea of guilty, thereby permitting the United States to avoid preparing

for trial and permitting the United States and the Court to allocate their resources efficiently, the

United States will move, at or before sentencing, to decrease the defendant’s base offense level

by an additional one level pursuant to U.S.S.G. § 3E1.1(b).


                                                 -7-
     Case 1:24-cr-00003-SM-AJ              Document 157          Filed 02/04/25      Page 8 of 14



           8. Waiver of Trial Rights and Consequences of Plea.

           The defendant understands that he has the right to be represented by an attorney at every

stage of the proceeding and, if necessary, one will be appointed to represent him. The defendant

also understands that he has the right:

           A.     To plead not guilty or to maintain that plea if it has already been made;

           B.     To be tried by a jury and, at that trial, to the assistance of counsel;

           C.     To confront and cross-examine witnesses;

           D.     Not to be compelled to provide testimony that may incriminate him; and

           E.     To compulsory process for the attendance of witnesses to testify in his
                  defense.


           The defendant understands and agrees that by pleading guilty he waives and gives up the

foregoing rights and that upon the Court’s acceptance of his guilty plea, he will not be entitled to

a trial.

           The defendant understands that if he pleads guilty, the Court may ask him questions

about the offense, and if he answers those questions falsely under oath, on the record, and in the

presence of counsel, his answers will be used against him in a prosecution for perjury or making

false statements.

           9. Acknowledgment of Guilt; Voluntariness of Plea.

           The defendant understands and acknowledges that he:

           A.     Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
                  he is guilty;

           B.     Is entering into this Plea Agreement without reliance upon any promise or benefit of any
                  kind except as set forth in this Plea Agreement or revealed to the Court;

           C.     Is entering into this Plea Agreement without threats, force, intimidation, or coercion;

                                                   -8-
     Case 1:24-cr-00003-SM-AJ            Document 157         Filed 02/04/25     Page 9 of 14




       D.      Understands the nature of the offense to which he is pleading guilty,
               including the penalties provided by law; and

       E.      Is completely satisfied with the representation and advice received from
               his undersigned attorney.

        10. Scope of Agreement.

       The defendant acknowledges and understands that this Plea Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The

defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from his guilty plea. The defendant further

acknowledges that this Plea Agreement has been reached without regard to any civil tax matters

that may be pending or which may arise involving the defendant.

        11. Collateral Consequences.

       The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived of certain federal benefits and certain rights, such as the right

to vote, to hold public office, to serve on a jury, or to possess firearms.

       The defendant understands that, if he is not a citizen of the United States, his guilty plea

to the charged offense will likely result in him being subject to immigration proceedings and

removed from the United States by making him deportable, excludable, or inadmissible. The

defendant also understands that if he is a naturalized citizen, his guilty plea may result in ending

his naturalization, which would likely subject him to immigration proceedings and possible

removal from the United States. The defendant understands that the immigration consequences


of this plea will be imposed in a separate proceeding before the immigration authorities. The

defendant wants and agrees to plead guilty to the charged offense regardless of any immigration

                                                -9-
    Case 1:24-cr-00003-SM-AJ            Document 157        Filed 02/04/25       Page 10 of 14




consequences of this plea, even if this plea will cause his removal from the United States. The

defendant understands that he is bound by his guilty plea regardless of any immigration

consequences of the plea. Accordingly, the defendant waives any and all challenges to his guilty

plea and to his sentence based on any immigration consequences and agrees not to seek to

withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack challenging his

guilty plea, conviction, or sentence, based on any immigration consequences of his guilty plea.

        12. Satisfaction of Federal Criminal Liability; Breach.


       The defendant’s guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District of New Hampshire arising from his participation in the conduct that forms

the basis of the indictment in this case.

       The defendant understands and agrees that, if after entering this Agreement, he fails

specifically to perform or fulfill completely each one of his obligations under this Agreement,

fails to appear for sentencing, or engages in any criminal activity prior to sentencing, he will

have breached this Agreement.

       If the United States, in its sole discretion, and acting in good faith, determines that the

defendant committed or attempted to commit any further crimes, failed to appear for sentencing,

or has otherwise violated any provision of this Agreement, the United States will be released

from its obligations under this Agreement, including, but not limited to, any agreement it made

to dismiss charges, forbear prosecution of other crimes, or recommend a specific sentence or a

sentence within a specified range. The defendant also understands that he may not use his breach

of this Agreement as a reason to withdraw his guilty plea or as a basis to be released from his

guilty plea.


                                               - 10 -
    Case 1:24-cr-00003-SM-AJ           Document 157           Filed 02/04/25   Page 11 of 14




       13. Waivers.


       A. Appeal.

       The defendant understands that he has the right to challenge his guilty plea and/or

sentence on direct appeal. By entering into this Plea Agreement the defendant knowingly and

voluntarily waives his right to challenge on direct appeal:

       1.      His guilty plea and any other aspect of his conviction, including, but not
               limited to, adverse rulings on pretrial suppression motion(s) or any other
               adverse disposition of pretrial motions or issues; or claims challenging the
               constitutionality of the statute of conviction; and

       2.      The sentence imposed by the Court if it is consistent with or lower than
               the stipulated sentence or the stipulated sentencing range specified in
               Section 6 of this agreement.

       The defendant’s waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date of this Plea

Agreement that have retroactive effect; or on the ground of ineffective assistance of counsel.

       B. Collateral Review.

       The defendant understands that he may have the right to challenge his guilty plea and/or

sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By

entering into this Plea Agreement, the defendant knowingly and voluntarily waives his right to

collaterally challenge:

        1.     His guilty plea, except as provided below, and any other aspect of his
               conviction, including, but not limited to, adverse rulings on pretrial
               suppression motion(s) or any other adverse disposition of pretrial motions
               or issues, or claims challenging the constitutionality of the statute of
               conviction; and

       2.      The sentence imposed by the Court if it is consistent with or lower than
               the stipulated sentence or the stipulated sentencing range specified in
               Section 6 of this agreement.

                                              - 11 -
    Case 1:24-cr-00003-SM-AJ           Document 157         Filed 02/04/25      Page 12 of 14




       The defendant’s waiver of his right to collateral review does not operate to waive a

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing, or on

the ground of ineffective assistance of counsel. The defendant’s waiver of his right to collateral

review also does not operate to waive a collateral challenge based on new legal principles

enunciated by in Supreme Court or First Circuit case law decided after the date of this Plea

Agreement that have retroactive effect.

       C. Freedom of Information and Privacy Acts.

       The defendant hereby waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of the case(s) underlying this Plea

Agreement, including without limitation any records that may be sought under the Freedom of

Information Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §522a.

       D. Appeal by the Government.

       Nothing in this Plea Agreement shall operate to waive the rights or obligations of the

Government pursuant 18 U.S.C. § 3742(b) to pursue an appeal as authorized by law.

        14. No Other Promises.

       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless set forth in writing, signed by all parties, and submitted to the Court.

        15. Final Binding Agreement.

       None of the terms of this Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant’s attorney and until it is signed by

                                               - 12 -
    Case 1:24-cr-00003-SM-AJ          Document 157          Filed 02/04/25     Page 13 of 14




the United States Attorney for the District of New Hampshire, or an Assistant United States

Attorney.

        16.   Agreement Provisions Not Severable.

        The United States and the defendant understand and agree that if any provision of this

Plea Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and

void and no part of it may be enforced.


                                                       MNEE.YOUNG              -^c)hn
                                                       Umtcd-Statoo Attorney




Date: J_                                          By:.
                                                      Heather A. Cherniske
                                                       Assistant United States Attorney
                                                       NH Bar Association #19837
                                                       53 Pleasant St., 4th Floor
                                                       Concord, NH 03301
                                                       Heather.chern iske@usdoi.gov




        The defendant, Alton Ryan, certifies that he has read this 14-page Plea Agreement and
that he fully understands and accepts its terms.


Date:
J                                                      Alton Ryan, Defendant

       I have read and explained this 14-page Plea Agreement to the defendant, and he has
advised me that he understands and accepts its terms.


Date:
                                                       David Rothstein, Esquire
                                                       Attorney for Alton Ryan

                                              - 13 -
                 Case 1:24-cr-00003-SM-AJ   Document 157   Filed 02/04/25   Page 14 of 14




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